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              IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION
_____________________________________________________________________

ANGELA STEWART,                      §
                                     §
      Plaintiff,                     §
                                     §
v.                                   §     Case No.
                                     §     JURY DEMANDED
GREAT AMERICAN                       §
STEAMBOAT                            §
CO., LLC.                            §
                                     §
      Defendant.                     §


                                 COMPLAINT


      COMES THE PLAINTIFF, ANGELA STEWART , filing this Complaint

against the Defendant, GREAT AMERICAN STEAMBOAT CO., LLC. She

shows:

                   PARTIES, JURISDICTION, AND VENUE

      1.     Plaintiff is a citizen and resident of Memphis, Tennessee (Shelby

County).

      2.     Defendant, Great American Steamboat Co., LLC, is a foreign

entity (Delaware) operating in Shelby County, Tennessee where it employed

the Plaintiff.



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      3.    This Court has subject matter jurisdiction under 28 U.S.C. §1331

and Title VII of the Civil Rights Act, 42 U.S.C. §2000(e) et. seq. Plaintiff

timely filed a charge of discrimination with the Equal Employment

Opportunity Commission, received a Notice of Suit Rights dated November

17, 2012, and has now timely commenced this action within ninety (90) days

thereafter. Accordingly, Plaintiff has exhausted administrative

prerequisites.

      4.    Venue in this Western District of Tennessee is proper pursuant to

28 U.S.C. § 1391, because the Defendant was either doing business in this

district or resides in this district, and a substantial part of the events or

omissions giving rise to this action occurred in this district.

                         FACTUAL BASES FOR SUIT

      5.    Plaintiff began working for Defendant on or about November 17,

2011 as Defendant’s Human Resources Director.

             DEFENDANT’S EQUAL EMPLOYMENT POLICIES

      6.    Applicable to all employees, Defendant published a “Policy &

Procedures Manual” which establishes “guidelines to govern your daily

activities as a crewmember of Great American Steamboat Company.” (P. 3).

      7.    The Policy & Procedures Manual contains further, more specific

policies, including a “Harassment” policy and “Rules of Conduct” policy.


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      8.    Under the “Harassment” policy, Defendant has elected very

broad and strongly worded policy. For example, “[a]ll crewmembers are

advised that all forms of derogatory or objectionable conduct designed to be,

or having the effect of being offensive to another crewmember are prohibited

and will be grounds for disciplinary action.” (P. 7). Examples of harassment

include, but are not limited to, “name calling,” “sexually explicit jokes,”

“comments about a crewmember’s anatomy or dress,” “sexually oriented

noises or remarks,” and “patronizing terms or remarks.”

      9.    Under the “rules of conduct” policy, disciplinary action may be

appropriate for, inter alia, a “failure to have or maintain, management’s

judgment, satisfactory working relationships with other crewmembers,

including supervisors,” and “[l]ack of proper judgment in carrying out job

responsibilities or when acting as a representative of Great American

Steamboat Company.” (p. 13).

      10.   In order to allow employees to “correct identified problems” and

to “reduce turnover,” Defendant also has a policy on Disciplinary Action. (p.

11-12). Under this policy, a “Disciplinary Action program” may consist of

four levels: Verbal Warning, Written Warning, Suspension, and

Termination. (P. 12). Normally, these levels are documented on a “Notice of

Disciplinary Action” form.


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      11.    As the Human Resources Director, Plaintiff was charged with

making sure that Defendant’s policies were applied uniformly and not in a

discriminatory manner.

      THE APPLICATION OF THE EEO POLICIES TO MEMBERS OF
     DEFENDANT’S HIGHER MANAGEMENT AND EMPLOYEE LEVEL

A.    D. KENDALL GRISBY – PRODUCT DEVELOPMENT

      12.    In 2012, D. Kendall Grigsby was Defendant’s Vice President of

Product Development.

      13.    In Plaintiff’s role as Human Resources Director, an employee

made a complaint against Mr. Grigsby. This complaint included that Mr.

Grigsby was spreading a false rumor that the employee was “sleeping” with a

co-worker.

      14.    After investigating the matter, and speaking to witnesses,

Plaintiff determined that Mr. Grigsby should receive the beginning level of

discipline, a “Verbal Warning.”

      15.    Defendant’s Chief Executive Officer, Mr. Jeff Krida, reviewed the

Grigsby matter. On or about December 6, 2011, Krida determined that the

discipline should be “softened,” so it was changed from a verbal warning to a

“Policy Reinforcement Discussion.” This PRD stated, in part, “[o]ver the past

few months, comments have been made by you regarding other employees

which may deem inappropriate or offensive.” The documentation was said to
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“serve as a policy reminder, and not formal discipline.”



B.    CHRISTOPHER A. KYTE—PRESIDENT

      16.   In 2011 and 2012, Christopher A. Kyte was Defendant’s

President, who reported to the Chief Executive Officer, Mr. Jeff Krida.

      17.   On November 10, 2011, Mr. Kyte addressed the status of the

position of Senior Vice President of Sales in an email to Defendant’s

corporate human resources department. In his email, Mr. Kyte addressed

various performance deficiencies of the existing Senior Vice President of

Sales and stated, “I am not sure if it is an age thing or personality issue . . . ”

while also commenting that he “IS fantastic” and “the best in the company at

Charter Sales….”

      18.   Mr. Kyte recommended replacing the existing Senior Vice

President of Sales with someone who is “a great guy, much younger and more

dynamic I have known for years . . . .”

      19.   Corporate Human Resources, through Christina Price, responded

that Mr. Kyte’s recommendations were valid, but she would “REALLY

appreciate it if you could please edit and resend this email to me, eliminating

all reference to AGE.” Mr. Krida, the Chief Executive, agreed with removing

these ageist sentiments, saying so in a responsive email copied to Plaintiff.


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        20.   Both Ms. Price and Mr. Krida copied Plaintiff on their email

strings and, thus, Plaintiff became sensitive to possible discrimination—and

certainly mixed signals of discrimination—concerning Mr. Kyte, and how Mr.

Krida, too, was aware of this.

        21.   Plaintiff, in her role of Human Resources Director, had to address

another issue of inappropriate language involving Mr. Kyte. Specifially,

Plaintiff learned that, in an email he circulated, Mr. Kyte had referred to

females, as a supposed “joke,” in a disparaging manner. This was another

example of him sending, at a minimum, mixed signals about his beliefs

concerning a protected class of individuals.

        22.   To Plaintiff’s knowledge, no formal discipline was issued to Mr.

Kyte.

C.      CATHERINE TURNER—CREW MEMBER

        23.   In December of 2011, Catherine Turner was a Crewmember for

Defendant.

        24.   In Plaintiff’s role as Human Resources Director, it was brought to

her attention that Ms. Turner allegedly made disparaging comments about

disliking working for Defendant and a complaint about Defendant taking

away holidays.

        25.   Plaintiff investigated the matter and, on or about December 21,


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2011, consulted with corporate human resources about the level of discipline

to engage. Plaintiff explained that, on the one hand, there were concerns

about company representations that had been made and, on the other hand,

Ms. Turner’s attitude may be contagious and harm the company.

      26.   On December 25, 2011, Plaintiff made a recommendation to

corporate human resources, with a copy to Defendant’s Chief Executive, that

Ms. Turner not receive “formal discipline,” but instead be issued a “Policy

Reinforcement Discussion,” the same that she had recommended for Grigsby.

      27.   In reaching this recommendation, Plaintiff pointed out the

precedent with Grigsby, a male. Plaintiff stated that Ms. Turner falls into

two protected classes (female, and pregnancy) and, therefore, giving her a

different discipline than a male could be discriminatory. Plaintiff added that

Ms. Turner had the highest sales rate and no attendance issues; therefore,

terminating her employment or changing her employment status to part time

might be considered “pretextual.”

      28.   By giving her a Policy Reinforcement Discussion, Plaintiff

reasoned, Ms. Turner’s negativity would be addressed, in a manner

consistent with the recommendation for Mr. Grigsby.

      29.   On December 26, 2011, Defendant’s Chief Executive Officer, Mr.

Jeffrey D. Krida, responded to Plaintiff’s email. Mr. Krida agreed that


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“absolute consistency regardless of seniority of position regarding

inappropriate communications and that Christopher [Kyte] and I both agree

to sign up to support this degree of consistency on this subject regardless of

whatever ineptness may be the provocation, or our opinions regarding the

reasons for provocation. At our leadership level we must support consistency

in not tolerating inappropriate communications throughout the

organization.” Mr. Krida copied Defendant’s President, Mr. Christopher

Kyte.

        30.   Plaintiff was pleased to receive the support from Mr. Krida, and

his decision that, yes, policies require consistent application between

members of high management and crew members.

        31.   Unfortunately, Defendant’s President, Mr. Kyte, did not

understand the EEO issues and uniformity issues Plaintiff and Krida were

addressing. He was clearly angry.

        32.   Mr. Kyte, in an email of December 26, 2011, at 1:52 p.m., stated,

in part, “I am the President of the Company,” and injected how he, a male,

was treated for his inappropriate “joke” about females. Kyte stated that

Plaintiff had “scolded” him and, he believed, Plaintiff was not acting in the

best interest of the company. Mr. Kyte also copied Mr. Krida.

        33.   Plaintiff undertook to professionally respond to both Mr. Krida’s


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email (of December 26) and Mr. Kyte email (also of December 26).

      34.   To Mr. Krida’s email, Plaintiff responded that consistency in

discipline is important and that she believed it was in the company’s best

interest to treat Ms. Turner with the same courtesy recommended for Mr.

Grisby—a Policy Reinforcement Discussion. She closed by saying she did not

mean for this matter to become a “big issue,” but that she did not want the

company to be accused of discrimination. She also stated that she would

adhere to the CEO’s final decision.

      35.   To Mr. Kyte’s email, Plaintiff responded that she was trying to

make a decision of consistency, and to keep Defendant out of court. Plaintiff

also stated she was not “scolding” Kyte for his inappropriate comments in an

email but rather asking him to be careful. This was no different than

Corporate Human Resources had previously asked Kyte to do with respect to

issues of ageism in an email.

      36.   Upon information and belief, Mr. Kyte forwarded the email

exchange to the Vice President, Mr. Grigsby, the person with whom

consistency of discipline was being compared.

      37.   On December 26, 2011, Mr. Grigsby sent a testy email to

Plaintiff, Mr. Kyte and Ms. Stewart. This email stated that he was “a tool for

precedence” and that “[i]f anything is inappropriate, it’s this mishandling of


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information.” Grigsby stated that he wanted “to discuss with you specifically

tomorrow how you make objective decisions with subjective material.”

      38.   Grigsby also misstated the “precedent” being compared—Grigsby

alluded to his comments relating to an employee’s ability to perform a job,

rather than his inappropriate comment that the employee was “sleeping”

with someone else.

      39.   The next day, December 27, 2011, Plaintiff responded to Ms.

Grigsby in a professional tone. She told Mr. Grigsby that her “door is always

open to you” but also that Grigsby’s comment was not the one about the

employee’s perceived inability to handle the job, but Grigsby’s comment about

an “inappropriate relationship with one of her direct reports.”

      40.   Upon information and belief, Plaintiff’s recommendation of no

termination and no change to part time status for Ms. Turner was followed.

However, the grudge against Plaintiff was, by this time, well established.

                     RETALIATION AGAINST PLAINTIFF

      41.   The emails from both Kyte and Grisby attest to their animus

against Plaintiff’s decision-making in matters of non-discrimination against a

female.

      42.   The policies apply equally to Kyte and Grisby, as they do lower

level employees.


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      43.      The Chief Executive Office, Mr. Krida, confirmed the equal

application.

      44.      Grigsby became the “tool for precedence” by his own

inappropriate action which the Company was forced to address.

      45.      Kyte, too, is to blame for any perceived “scolding” he received by

virtue of his own inappropriate email which violates Defendant’s own policies

and procedures.

      46.      Grigsby and Kyte were angry because their conduct was actually

addressed by a Human Resources official instead of simply being overlooked

due to their position of high management.

      47.      Plaintiff engaged in legally protected conduct. She opposed

through her words and deeds an unlawful employment practice of treating a

pregnant female differently than higher male management had been treated

in instances of inappropriate language. See, e.g., Crawford v. Metropolitan

Government of Nashville & Davidson Cty, 555 U.S. 271 (2009). Additionally,

Plaintiff participated in an investigation which involved establishing

consistent, non-discriminatory discipline for a female employee in relation to

male employees.

      48.      Thereafter, Plaintiff was treated differently—more harshly, with

work being piled upon her, inconsistent assignments, and immediate


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turnarounds. She also experienced the cold shoulder.

       49.    On January 4, 2012, less than ten (10) days from her opposition

and participation conduct, Defendant terminated Plaintiff’s employment.

       50.    Defendant terminated Plaintiff’s employment in retaliation for

her opposition and participation conduct, as set forth above.

       51.    The termination has been devastating to Plaintiff. She lost her

position, which compensated her $2,615.38 bi-weekly (approximately $68,000

annually), plus various benefits (her back pay and benefits).1 She has also

suffered worry, anxiety, humiliation, anger, feelings of loss and hurt, and

financial distress. Plaintiff seeks such compensatory damages, along with

injunctive relief of reinstatement, full back pay, front pay to the extent

applicable, and punitive damages because the actions were taken in reckless

indifference to Plaintiffs’ federally protected rights. Plaintiff also seeks her

reasonable attorneys fees, along with costs.

       52.    Upon information and belief, D. Kendall Grisby has been

separated from employment with Defendant at the instance of Defendant.

       53.    Upon information and belief, Christopher Kyte has been

separated from employment with Defendant at the instance of Defendant.




1     An increase to $2692.31 biweekly ($70,000 annually) would have become effective in six
months.
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                          LEGAL CAUSE OF ACTION

      54.   Plaintiff brings the following cause of action under Title VII

against Defendant:

            A.     Retaliation.

      55.   Plaintiff respectfully demands a jury.

      WHEREFORE, PREMISES CONSIDERED, PLAINTIFF requests

Defendant Answer this Complaint, that Plaintiff be awarded all

compensatory and punitive damages available, any other equitable relief,

wage and benefit losses, attorneys fees, costs, prejudgment interest and post-

judgment interest, and any further relief at either law or equity to which she

may be entitled.

                                  Respectfully submitted,


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